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                                   UNITED STATES DISTRICT COURT
14
                                 NORTHERN DISTRICT OF CALIFORNIA
15
                                           SAN JOSE DIVISION
16

17   UNITED STATES OF AMERICA,                        ) CASE NO. 5:22-cr-00105-BLF
                                                      )
18           Plaintiff,                               ) STIPULATION AND [PROPOSED] ORDER RE:
                                                      ) RESTITUTION
19      v.                                            )
                                                      )
20   SCOTT SHAW,                                      )
                                                      )
21           Defendant.                               )
                                                      )
22

23           The United States and Defendant SCOTT SHAW (“Defendant”), by and through their counsel of
24 record, hereby stipulate as follows:

25           1.       On August 15, 2023, the Defendant pleaded guilty to Counts 2 and 5 of the captioned
26 Information.

27           2.       At the sentencing hearing on November 14, 2023 the Court ordered Defendant to serve
28 24 months in custody and one year of supervised release, and to pay a $15,000 fine, and deferred the

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 1 determination of restitution. The Court set a restitution hearing date of February 6, 2024, for the final

 2 determination of restitution.

 3          3.       Restitution may be ordered as a condition of supervised release under 18 U.S.C. §

 4 3583(d) so long as the restitution (1) is reasonably related to the sentencing factors set forth in section

 5 3553(a)(1), (a)(2)(B), (a)(2)(C), and (a)(2)(D); (2) involves no greater deprivation of liberty than is

 6 reasonably necessary for the purposes set forth in section 3553(a)(2)(B), (a)(2)(C), and (a)(2)(D); and

 7 (3) is consistent with any pertinent policy statements issued by the Sentencing Commission pursuant to

 8 28 U.S.C. 994(a).

 9          4.       To conserve judicial resources, to bring about a speedy resolution of this matter, and to

10 avoid further litigation, the parties agree and jointly request that the Court, upon approval of this

11 Stipulation, enter an Amended Judgment to order restitution to the individuals in the amounts as set

12 forth below:

13                a. $10,400 in total to K.B.

14                b. $5,920 in total to J.M.

15 The parties stipulate that the above individuals are entitled to restitution under 18 U.S.C. 3583(d). The

16 United States shall furnish the Clerk’s Office with physical address information for each individual.

17          5.       The parties further agree to the following payment schedule with respect to restitution:

18 Once Defendant is on supervised release, Defendant shall pay restitution in monthly payments of not

19 less than $250 or 10% of earnings, whichever is greater, to commence no later than 60 days from

20 placement on supervision.

21          6.       Any portion of Defendant’s restitution obligation which remains unpaid shall be due on

22 the final day Defendant’s supervised release.

23          7.       Notwithstanding any payment schedule set by the court, the United States Attorney’s

24 Office may pursue collection through all available means in accordance with 18 U.S.C. §§ 3613 and

25 3664(m). The restitution payments shall be made to the Clerk of U.S. District Court, Attention: Finance

26 Unit, 450 Golden Gate Ave., Box 36060, San Francisco, CA 94102.

27          8.       The parties request that the Court issue an Amended Judgment ordering restitution

28 payable to the individuals identified and the terms outlined above.

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 1                                                       SO STIPULATED.

 2                                                       PATRICK D. ROBBINS
                                                         Attorney for the United States
 3
                                                                  /s/
 4
                                                         MICHAEL G. PITMAN
 5                                                       Assistant United States Attorney

 6                                                       KRISTEN CLARKE
                                                         Assistant Attorney General
 7                                                       Civil Rights Division
 8
                                                                   /s/
 9                                                       MARLA DUNCAN
                                                         Trial Attorney
10                                                       SARAH HOWARD
                                                         Attorney Advisor
11

12                                                       Attorneys for United States of America

13
                                                               /s/
14                                                       DAVID R. CALLAWAY
                                                         JEREMY D. BLANK
15

16                                                       Attorneys for Defendant SCOTT SHAW

17

18                                            [PROPOSED] ORDER

19          Defendant SCOTT SHAW will pay a total of $16,320 in restitution as a condition of supervised

20 release, in the amounts specified to the individuals specified as follows:

21              a. $10,400 in total to K.B.

22              b. $5,920 in total to J.M.

23          The above individuals are entitled to restitution under 18 U.S.C. 3583(d).

24          Once Defendant is on supervised release, Defendant shall pay restitution in monthly payments of

25 not less than $250 or 10% of earnings, whichever is greater, to commence no later than 60 days from

26 placement on supervision.

27          Any portion of Defendant’s restitution obligation which remains unpaid shall be due on the final

28 day Defendant’s supervised release.

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 1          Notwithstanding any payment schedule set by the court, the United States Attorney’s Office may

 2 pursue collection through all available means in accordance with 18 U.S.C. §§ 3613 and 3664(m). The

 3 criminal monetary penalty payments shall be made to the Clerk of U.S. District Court, Attention:

 4 Finance Unit, 450 Golden Gate Ave., Box 36060, San Francisco, CA 94102.

 5          The Probation Office shall prepare an amended judgment in accordance with this order. The

 6 restitution hearing originally set for February 6, 2024, is hereby vacated.

 7          IT IS SO ORDERED.

 8

 9 DATE:

10                                                      _____________________________________
                                                        HON. BETH LABSON FREEMAN
11                                                      UNITED STATES DISTRICT JUDGE
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